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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

SEAN MICHAEL RYAN, #787263

       Plaintiff,

v.                                               Case No. 19-12286
                                                 Honorable Victoria A. Roberts
MICHIGAN DEPARTMENT OF
CORRECTIONS,

     Defendant.
___________________________/

     ORDER DENYING NOTICE OF OBJECTION/MOTION AND ADDRESSING
                REQUEST TO EXPEDITE PROCEEDINGS

     On June 22, 2022, Plaintiff (“Ryan”) filed a “Notice of Objection and Intent to

Appeal the Order Issued.” [ECF No. 48]

     Ryan says he “does not feel that a motion for reconsideration would do anything

but waste the parties (sic) and Court valuable time.” He makes no substantive

arguments except to say the Court abused its discretion in granting Defendants’ Motion

for Summary Judgment. [ECF 44].

     The Court notes Ryan’s objection, construes this as a Motion for Reconsideration

nonetheless, and finds that Ryan fails to demonstrate the Court made a mistake in its

Order.[ECF No 44], see E.D. Mich LR 7.1(h)(1).

     For these reasons, the notice/motion is DENIED.

     On August 19, 2022, Ryan also filed a “Request for the Court to Expedite

Proceedings.” [ECF No. 50]

     Ryan asks the Court to (1) file the necessary papers to notify the Court of Appeals

of his intent to appeal this Court’s Order issued May 24, 2022; (2) allow him the ability to
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proceed In Forma Pauperis; and (3) take any other action necessary to expedite the

appellate process.

     This Court does not notify the Court of Appeals of a party’s intent to file an appeal.

It is Ryan’s responsibility to file a notice of appeal with the Sixth Circuit Court of

Appeals.

       The Court GRANTS Ryan’s request to proceed on appeal In Forma Pauperis.

       Ryan’s request that the Court expedite the appellate process is DENIED. This

Court does not have jurisdiction over the appellate process.

       ORDERED.

                                            s/ Victoria A. Roberts
                                            Victoria A. Roberts
                                            United States District Judge
Dated: 8/22/2022
